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Case: 1:21-mj-00325

Assigned To : Meriweather, Robin M.

Assign. Date : 3/18/2021
STATEMENT OF FACTS Description: Complaint w/ Arrest Warrant

Your affiant, John R. Minichello, is a Special Agent with the FBI and has served in that
capacity since graduating from the basic agent training program at the FBI Academy in Quantico,
Virginia in 2010. | am currently assigned to the FBI Cleveland Division. Currently, | am tasked
with investigating criminal! activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent, | am an “investigative or law enforcement officer” of the United States within the
meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States
who is empowered by law to conduct investigations of and to make arrests for offenses enumerated
in Title 18, United States Code, Section 2516(1).

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capito!
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C, During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S, Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—-and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capito] from the time he was evacuated from the
Senate Chamber until the sessions resumed,

 
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During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

On January 13, 2021, two cooperating witnesses “CWI” and “CW2”) reported to your
affiant that Ethan SEITZ, an individual well known to both CW1 and CW2 who uses Facebook
account ethan.seitz.3, participated in the protest at the Capitol on January 6, 2021, CWI and CW2
were aware of SEITZ’s participation because SEITZ posted statements on Facebook account
ethan.seitz.3 that he entered the Capitol building. CWi and CW2 identified the ethan.seitz.3
Facebook account as associated with SEITZ. The ethan.seitz.3 Facebook account also includes
photographs and videos, which appear to document SEITZ’s progress from the Capitol grounds
through established police barricades, and into the Capitol building itself. CW1 and CW2 provided
their information to your affiant voluntarily, without financial compensation or other
enticement/inducement, and their reporting was corroborated through a review of publicly
available information and law enforcement records.

On January 13, 2021, CW2 provided access to CW2’s Facebook account for your affiant.
CW2’s Facebook account is in a “friend” status with ethan.seitz.3, which allows viewing of
account content restricted to those in a “friend” status.

While viewing account ethan.seitz.3, your affiant observed statements made by the account
user of ethan.seitz.3 on January 5, 2021, in which the user states they are “In Washington DC” and
“Anyone guess where | am?” along with a photograph of Ethan SEITZ in what your affiant
believes is a hotel room in the Washington, D.C., area.

 
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Ethan Seitz
Jabuary 5 al ig PA. @&

 

in Washington DC withit. 2° ss ee
12 floors high, King size bed. Me, Myself. And I.

Oh aad tike a million other Americans <;
Where we go ane, we go all.

 

During the review of Facebook account ethan.seitz.3, your affiant observed multiple video
and image files which appear to have been taken using a cellular telephone. Some of these files
captured events as the recording party moved with the crowd of rioters from the Capitol grounds,
through a police barricade as it was overrun, and into the Capitol building.

Your affiant obtained a search warrant for Facebook account ethan.seitz.3. On or about
February 12, 2021, Facebook provided records in response to that warrant, which contained
messages between SEITZ and other individuals, in which SEITZ appears to describe some of his
activities during the assault on the Capitol. The messages include references to being part of a
group of people “pushing.” Other messages indicate that SEITZ and others came to Washington,
D.C,, to “stop the steal.’ These communications include the following messages at the dates and
times listed below:

 

2021-01-06 17:48:21 (UTC)
There is a militia here that wants to storm the Capitol and take the building after Trumps speech

2021-01-06 19:25:35 (UTC)
I'm goin in the capitol

 

2021-01-06 19:27:20 (UTC)

 

 

 
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] just climbed in through a broken window

 

2021-01-06 20:03:52 (UTC)
I was inside the capitol and was smashed in a group of people. They fuckin pepper sprayed us and hit us with
tear gas canisters inside the capitol building,

 
  

2 :03:
1 was inside upstairs in the capitol pushing with a group of people and they fuckin gassed us again. And pepper
sprayed us

 

021-01-06 20:03:57 (UTC)
I had to climb out a window. I couldnt breathe. I need a fuckin gas mask

 

2 20:03:
I had to climb out a window. Couldnt breath or see. Then someone doused my eyes with water

 

2021-01-06 20:05:11 (UTC)
I climbed through a broken window of the capitol. We pushed and pushed bro, I've been gassed 2 or 3 times.
And pepper sprayed, I had to climb back out | couldnt breath.

  

06:30 (UTC)
Yeah I didnt really prepare for that. I didnt expect to be on the frontline storming the capitol and taking the
building lol

 

07:26(UTC)
Yeah. My eyes are still burning. My ears are ringing from the flash bombs and shit. And my neck hurts cause |
got hit with a night stick trying to pull a woman away from the cops as they were beating her

 

2021-01-07 0:16:49 (UTC)
Lol well I'm safe. 1 guess its whatever. First time | ever came to DC and } was right at the front of the charge

into the capitol E24 seems fitting I suppose

 

2021-01-07 0:38:41 (UTC)
But I did storm the fuckin capitol and climb in through a window. Got gassed and pepper sprayed. Flash
bombs thrown at me, And fuckin rubber bullets shot at me.

 

7 1:56:37 (UTC)

I've been looking at all the news stories about DC today. The narrative is absolutely ridiculous. From someone
who was here all day AND inside the capitol building at the very beginning, | promise you,. the fake news is
trying to make it out to be a whole other thing. So are the corrupt politicians. The media is reporting it as an
attempted coup. When the coup is already happening against Trump through a fraudulent election. The patriots
in DC were here to show WE THE PEOPLE will not allow our country to be stolen! #StopTheSteal
#MarchForTrump

 

 
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2021-01-07 2:41:49 (UTC)
Qh yeah idgaf dude. | pay taxes, That's mine and every other tax paying americans building. The federal
government is run by WE THE PEOPLE. | didnt break no laws. I didnt destroy anything or hurt any body. |
didnt even steal anything, Which was really hard for me. Lol

  

21-01-07 18:16:27 (UTC)
Pretty much nothing once Trump is out of office. Pile guns and wait for the war to start

A search of video footage obtained by the FBI revealed a video file which shows SEITZ
sitting immediately outside the Capitol at some point following the breach, apparently suffering
from exposure to chemical irritants, and wearing clothing which is consistent with a description
of himself that he posted to Facebook, which stated:

 

2021-01-07 0:11:25 (UTC)
Blue nike coat. Red hoodie under it. Coat unzipped. Black nike hat.

A still image from this video is pictured below:

 

In addition, your affiant reviewed a video posted to YouTube by a former radio host, D.P.,
in which she appears to interview SEITZ during the evening of January 6. In the interview, SEITZ
gives his name, states that he entered the Capito! building, and describes how he was part of a
group that rushed in and went across the Capitol building before encountering a door locked by
the “cops” that his group pushed through in order to let rioters through another entrance. He also
explains that he thought that the police resistance to the Capitol invasion was “disgusting” because
the rioters were there because of “election integrity,” and because of his view that former President

 

 

 

 
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Trump won the 2020 election. SEITZ also mentions that he drove seven hours to travel to
Washington, D.C. According to law enforcement records, SEITZ lives in Sandusky, Ohio, which
is approximately a seven-hour drive from Washington D.C.

Below is a screenshot from the video of SEITZ’s interview with D.P.:

   

| @8 Capitol Stand Off - YouTube x

G @ — &  hitps:/Avwww.youtube.com/watch?v=EuYKTRyjVew

 

YouTube > Search

ane iit de DA

 

Capitol Stand Off

1,781 views ° Strearned live on Jan 6, 2021

 

fr

469 93 @ 3h 43°) SHARE

Your affiant has obtained an Ohio driver’s license issued to SEITZ, and SEITZ’s driver’s
license photograph is consistent with the individual who appears in-photographs in the ethan.seitz3
Facebook account and YouTube video described above, as well as in the U.S. Capitol security
footage described below.

Your affiant reviewed video footage from multiple internal U.S. Capitol security cameras,
which appear to clearly depict SEITZ inside the Capitol rotunda and connecting hallways during

 

 
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the invasion of the Capitol on January 6, 2021. The images of SEITZ in the video footage are
recognizable not only when compared to his Ohio driver’s license photograph, but they are also
consistent with the clothing that SEITZ is wearing both in his interview with D.P., and also appear
to match other images of SEITZ outside the Capitol described earlier in this affidavit. Below is a
screenshot from the video with a red circle added to identify SEITZ:

 

Based on the foregoing, your affiant submits that there is probable cause to believe that
SEITZ violated 18 U.S.C. § 1752(a)(L) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions, or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

Your affiant submits there is also probable cause to believe that Ethan SEITZ violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
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building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

  

 

HN R. MINICHELLO
FEDERAL BUREAU OF
INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18" day of March 2021.

2021.03.18
19:13:30 -04'00'
ROBIN M. MERIWEATHER
U.S. MAGISTRATE JUDGE

 

 

 

 
